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     1                                                                                  JS-6
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     6
                            UNITED STATES DISTRICT COURT
     7                     CENTRAL DISTRICT OF CALIFORNIA
     8                           WESTERN DIVISION
     9 AMY FRIEDMAN, JUDI                       Case No. 2:14-cv-06009-ODW-AGR
       MILLER, KRYSTAL HENRY-
    10 MCARTHUR, and LISA                       ORDER GRANTING FINAL
       ROGERS on behalf of themselves           APPROVAL AND ENTERING FINAL
    11 and all others similarly situated,       JUDGMENT
    12                  Plaintiffs,             Judge: Hon. Otis D. Wright II
    13         v.
    14 GUTHY-RENKER LLC and
       WEN BY CHAZ DEAN, INC.,
    15
                 Defendants.
    16 ORDER GRANTING FINAL APPROVAL OF SETTLEMENT AND FINAL
    17                                     JUDGMENT
    18         On October 28, 2016, the Court entered an Order Granting Preliminary
    19 Approval of Class Settlement and directing notice be sent to the class. In that same
    20 Order, the Court set a Final Approval Hearing for June 5, 2017, for the purpose of
    21 determining (1) whether the proposed settlement, on the terms set forth in the
    22 Settlement Agreement and Release of Claims (“Agreement”), is fair, reasonable,
    23 and adequate, and should be finally approved by the Court; (2) whether, pursuant
    24 to the terms of the proposed settlement, a final order should be entered dismissing
    25 defendants Guthy-Renker LLC (“Guthy-Renker”) and WEN by Chaz Dean, Inc.
    26 (“WEN”) (collectively Guthy-Renker and WEN shall be referred to as
    27 “Defendants”) and releasing Defendants from all Released Claims (as defined in
    28 the Agreement); (3) whether to award attorneys’ fees and costs to Class Counsel;
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     1
         and (4) whether to approve the Incentive Awards to Named Plaintiffs Amy
     2
         Friedman, Judi Miller, Krystal Henry-McArthur, and Lisa Rogers. The Final
     3
         Approval Hearing was held on June 5, 2017, at which time the Court addressed
     4
         three issues of concern with the proposed settlement, and further hearing was set
     5
         for July 24, 2017. This Order will refer to the Named Plaintiffs and Defendants as
     6
         the “Parties” to the Agreement.
     7
                 On or before February 10, 2017, Lindsey Buss, Christina Brown, Rosemary
     8
         Renz, Melissa Randolph, Kathleen Horn, Tremaine Charles, Pamela Sweeney,
     9
         Pamela Behrend, Ellen Bentz, Nadine Lindgren, Patricia Seastrom-Miller, and
    10
         Christy Whaley Sparks (collectively, the “Objectors”) filed objections to the
    11
         settlement. The Parties filed their respective responses to the objections on May 1,
    12
         2017.
    13
                 The Court, having reviewed the Agreement and all proposed modifications
    14
         thereto, and all papers submitted in connection with the proposed settlement, and
    15
         having considered all arguments of the Parties’ counsel and the Objectors, finds
    16
         that the Parties have evidenced full compliance with the Preliminary Approval
    17
         Order, the Parties have addressed the three issues of concern expressed by the
    18
         Court on June 5, 2017, and there are substantial and sufficient grounds for entering
    19
         this Order Granting Final Approval of Settlement and Final Judgment ("Final
    20
         Order and Judgment").
    21
                 NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
    22
                 1.   The Court has federal subject matter jurisdiction of this Lawsuit and
    23
         jurisdiction to approve the settlement.
    24
                 2. The Court has personal jurisdiction over the Named Plaintiffs, all
    25
         members of the Settlement Class, and the Defendants.
    26
                 3.   The Court hereby directs the Parties and their counsel to implement
    27
    28                                             1

                      ORDER GRANTING FINAL APPROVAL AND ENTERING FINAL JUDGMENT
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     1
         and consummate the Agreement as modified as follows and directs the
     2
         administration of the settlement in accordance with the terms and provisions of the
     3
         Agreement as modified as follows, pursuant to the agreement of the Parties and the
     4
         approval of this Court:
     5
               a. The class period shall be November 1, 2007 to September 19, 2016.
     6
               b. Section A(1) – Tier 1 Class-Wide Flat Rate Claims: The last
     7
               sentence of the first paragraph of this section is stricken. There
     8
               shall be no cap on the amount of funds available to pay Class
     9
               Members making Tier 1 claims.
    10
               c.   All references in the Settlement Agreement to a $5,000,000 cap or
    11
               allocation for Tier 1 claims are stricken or replaced, as illustrated
    12
               in the modified and redlined Agreement attached hereto as Exhibit
    13
               1 and incorporated by reference into this Order (unless otherwise
    14
               noted herein, all terms and phrases used in this Final Order and
    15
               Judgment shall have the same meaning as in the Agreement).
    16
               d. Section 8: Incentive Awards to Named Plaintiffs. The Parties
    17
               suggest that the incentive award for Amy Friedman and Judi Miller
    18
               each be $20,000.
    19
               e. Section 9: Attorney’s Fees and Costs. Class Counsel fees shall be
    20
               $5,500,000.
    21
               f. Section 14: Special Master. The Special Master’s fees shall be
    22
               capped at $400,000.
    23
               g. Section 17: Administrative Costs and Expenses. Settlement
    24
               Administration fees and costs (exclusive of Special Master fees
    25
               and costs, and costs and fees associated with delays from any
    26
               appeals) shall be capped at $2,524,859.00.
    27
    28                                          2

                    ORDER GRANTING FINAL APPROVAL AND ENTERING FINAL JUDGMENT
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     1
                4.     Pursuant to Federal Rule of Civil Procedure 23, the Court finds that
     2
         (a) members of the proposed Settlement Class are so numerous as to make joinder
     3
         of all members impracticable; (b) there are questions of law or fact common to the
     4
         proposed Settlement Class; (c) the claims of the Named Plaintiffs are typical of the
     5
         claims of the proposed Settlement Class; (d) the Named Plaintiffs and Class
     6
         Counsel fairly and adequately protected and will continue to protect the interests of
     7
         the members of the Settlement Class; (e) questions of law or fact common to the
     8
         members of the Settlement Class predominate over any questions affecting only
     9
         individual members; and, (f) for settlement purposes, a class action is superior to
    10
         other available methods for the fair and efficient adjudication of the Lawsuit and
    11
         its resolution.
    12
                5.     The Court therefore finds that the requirements for certifying a
    13
         settlement class have been met and are appropriate under the circumstances of this
    14
         case pursuant to Federal Rule of Civil Procedure 23(b)(3). The Court certifies for
    15
         settlement purposes only the following Settlement Class, with the Named Plaintiffs
    16
         representing the Settlement Class as follows:
    17
    18                 All purchasers or users of WEN Hair Care Products in
    19                 the United States or its territories between November 1,
                       2007 and September 19, 2016, excluding (a) any such
    20                 person who purchased for resale and not for personal or
    21                 household use, (b) any such person who signed a release
                       of any Defendant in exchange for consideration, (c) any
    22                 officers, directors or employees, or immediate family
    23                 members of the officers, directors or employees, of any
                       Defendant or any entity in which a Defendant has a
    24                 controlling interest, (d) any legal counsel or employee of
    25                 legal counsel for any Defendant, and (e) the presiding
                       Judge in the Lawsuit, as well as the Judge’s staff and
    26                 their immediate family members.
    27          6.     The Court gives final approval to the settlement as fair, reasonable,
    28                                          3

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     1
         and adequate to the Named Plaintiffs and to each member of the Settlement Class,
     2
         and the settlement is in their respective best interests, and is in full compliance
     3
         with all requirements of due process and federal law. The settlement is finally
     4
         approved in all respects.
     5
               7.      Neither the certification of the Settlement Class, nor the settlement of
     6
         this Lawsuit, shall be deemed to be a concession by Defendants of the propriety of
     7
         the certification of a litigation class, in this Lawsuit or any other lawsuit, and
     8
         Defendants shall retain all rights to assert that class certification for purposes other
     9
         than settlement is not appropriate. Furthermore, the Agreement shall not be
    10
         deemed to be an admission of liability or of unlawful conduct by or on the part of
    11
         any of the Defendants or their future, current, or former officers, agents, and
    12
         employees, and shall not serve as evidence of any wrongdoing by or on the part of
    13
         any of the Defendants or their future, current, or former officers, agents and
    14
         employees. However, reference may be made to the settlement and the Agreement
    15
         as may be necessary to effectuate the provisions of the Agreement.
    16
               8.     The Court finds that the U.S. Mail and Electronic Mail Notice,
    17
         Settlement Website Notice, Publication Notice, notice provided to the state
    18
         attorneys general and the United States Attorney General and the Notice Plan
    19
         implemented pursuant to the Agreement (i) constituted the best practicable notice;
    20
         (ii) constituted notice that is reasonably calculated, under the circumstances, to
    21
         apprise members of the Settlement Class of the pendency of the Lawsuit, of the
    22
         proposed settlement, of their right to object or to exclude themselves from the
    23
         proposed settlement and to appear at the Final Approval Hearing, and their right
    24
         to seek monetary relief; (iii) were reasonable and constituted due, adequate, and
    25
         sufficient notice to all persons entitled to receive notice; and (iv) met all applicable
    26
         requirements of due process and federal law.
    27
    28                                           4

                     ORDER GRANTING FINAL APPROVAL AND ENTERING FINAL JUDGMENT
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     1
               9.     The Court finds that Class Counsel and the Named Plaintiffs
     2
         adequately represented the Settlement Class for the purpose of entering into and
     3
         implementing the Agreement. The Court further finds that Dahl Administration
     4
         LLC, the Settlement Administrator, and the Hon. Nan Nolan (Ret.), the Special
     5
         Master, have met all requirements of the Court as set forth in the Preliminary
     6
         Approval Order and Agreement.
     7
               10.    The Court has considered all properly raised objections. After
     8
         considering the objections and all briefing and oral argument offered in support of
     9
         or in opposition to the same, the Court finds that the objections are without merit.
    10
         Accordingly, all objections are hereby overruled.
    11
               11.     The Court further finds under Federal Rule of Civil Procedure 54(b)
    12
         there is no just reason for delay in entering final judgment, and therefore directs
    13
         that the judgment of dismissal shall be final and entered forthwith. Without
    14
         affecting the finality of this Final Order and Judgment for purposes of appeal, the
    15
         Court, by consent of the Parties, shall retain jurisdiction over the implementation
    16
         and enforcement of the Agreement. Except as set forth expressly in this Paragraph,
    17
         the case is dismissed with prejudice upon entry of this Final Order and Judgment.
    18
               12.     The Court finds that the Named Plaintiffs and each member of the
    19
         Settlement Class have conclusively compromised, settled, discharged, dismissed,
    20
         and released all Released Claims against Defendants and the other Released
    21
         Parties, as set forth in Section 16 of the Agreement.
    22
               13.    Accordingly, upon the Effective Date, the Named Plaintiffs and all
    23
         members of the Settlement Class who have not been excluded from the Settlement
    24
         Class, whether or not they returned a Claim Form within the time and in the
    25
         manner provided for, are barred from asserting any Released Claims against
    26
         Defendants and the other Released Parties, and any such members of the
    27
    28                                          5

                     ORDER GRANTING FINAL APPROVAL AND ENTERING FINAL JUDGMENT
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     1
         Settlement Class are deemed to have released any and all Released Claims as
     2
         against Defendants and the other Released Parties. The settlement and this Final
     3
         Order and Judgment are binding on, and shall have res judicata and preclusive
     4
         effect in any pending and future lawsuits or other proceedings encompassed by the
     5
         Released Claims maintained by or on behalf of the Named Plaintiffs and all other
     6
         members of the Settlement Class.
     7
               14.     The Court approves Incentive Award payments to Plaintiffs Friedman
     8
         and Miller of $20,000 each, an incentive award for Plaintiff Henry-McArthur of
     9
         $5,000, and Plaintiff Rogers of $2,500.
    10
               15.    The Court, in light of the substantial work, considerable expense
    11
         expended, and substantial risks associated with prosecuting this Lawsuit, further
    12
         awards Class Counsel attorneys’ fees and costs in the amount of $5,500,000, which
    13
         equates to less than 21% of the Fund, and also approves the payment of all
    14
         Administrative Costs and Expenses consistent with the terms of the Agreement.
    15
               16.     To the extent that there are any residual funds left in the Fund at the
    16
         end of the claim period, those residual funds will revert to cy pres, as described in
    17
         Section 6 of the Agreement. The Parties select the American Academy of
    18
         Dermatology, Inc. (“AAD”) as cy pres recipient, and the Court directs that all
    19
         residual funds shall revert to AAD and shall be earmarked for scalp and hair-
    20
         related research and issues.
    21
               17.    This order and judgment shall bar all members of the Settlement
    22
         Class who have not been excluded from the Settlement Class from (i) filing,
    23
         commencing, prosecuting, intervening in, or participating as plaintiff, claimant, or
    24
         class member in any other lawsuit or administrative, regulatory, arbitration, or
    25
         other proceeding in any jurisdiction based on, relating to, or arising out of the
    26
         claims, assertions and causes of action raised in the Lawsuit and/or the Released
    27
    28                                          6

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     1
         Claims, or the facts and circumstances relating to any of them; and (ii) from filing,
     2
         commencing, or prosecuting a lawsuit or administrative, regulatory, arbitration, or
     3
         other proceeding as a class action on behalf of members of the Settlement Class
     4
         who have not been excluded from the Settlement Class (including by seeking to
     5
         amend a pending complaint to include class allegations or seeking class
     6
         certification in a pending action), based on, relating to, or arising out the claims,
     7
         assertions and causes of action raised in the Lawsuit and/or the Released Claims,
     8
         or the facts and circumstances relating to any of them.
     9
               18.    The Court approves the Opt-Out List (ECF No. 217-9 to 217-10)
    10
         and determines that the Opt-Out List is a complete list of all potential Settlement
    11
         Class members who have properly and timely requested exclusion from the
    12
         Settlement Class and who therefore shall neither share in nor be bound by this
    13
         Final Order and Judgment. Notwithstanding the foregoing, the Court in its
    14
         discretion may grant requests by other class members to opt out of the settlement.
    15
    16
    17 DATED:         August 21, 2017.           ______________________________
    18                                                HON. OTIS D. WRIGHT II
                                                      United States District Judge
    19
    20
    21
    22
    23
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    26
    27
    28                                           7

                     ORDER GRANTING FINAL APPROVAL AND ENTERING FINAL JUDGMENT
